Case
 Case2:22-cv-00561-BRM-ESK
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                     UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


   J.S. AND S.S. ON BEHALF A.S.,
   Plaintiff

                              V.                      SUMMONS IN A CIVIL CASE
   WEST MORRIS REGIONAL HIGH
   SCHOOL DISTRICT BOARD OF
   EDUCATION,
   Defendant
                                                      CASE
                                                      NUMBER: 2:22−CV−00561−BRM−ESK


      TO: (Name and address of Defendant):   Michael Ben-David, J.D., M.Ed.
                                             Superintendent
                                             10 South Four Bridges Road
                                             Chester, NJ 07930




      A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it)
   −− or 60 days if you are the United States or a United States Agency, or an office or employee of
   the United States described in Fed. R. civ. P. 12 (a)(2) or (3) −− you must serve on the plaintiff
   an answer to the attached complaint or a motion under rule 12 of the Federal Rules of Civil
   Procedure. The answer or motion must be served on the plaintiff or plaintiff`s attorney, whose
   name and address are:
                              David R. Giles
                              Attorney at Law
                              34 Rynda Road
                              South Orange, NJ 07079

      If you fail to respond, judgment by default will be entered against you for the relief
   demanded in the complaint. You also must file your answer or motion with the court.




    s/ WILLIAM T. WALSH
    CLERK




                                                                   ISSUED ON 2022−02−04 10:38:51, Clerk
                                                                              USDC NJD
Case
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                                                     RETURN OF SERVICE
 Service of the Summons and complaint was made by DATE February 4, 2022
 me(1)
 NAME OF SERVER (PRINT)                           TITLE
                               David R. Giles           Attorney for Plaintiffs

 Check one box below to indicate appropriate method of service



            Served personally upon the defendant. Place where served: _______________________________________
            ________________________________________________________________________
            Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age
            and
            discretion then residing therein.

            Name of person with whom the summons and complaint were left:__________________________________

            Returned unexecuted:_____________________________________________________________________
            _________________________________________________________________________
            ________________________________________________________________________
         x Other (specify) :_________________________________________________________________________
                             With consent of Defendant's counsel, Jodi Howlett, served this Summons and the
                             Complaint on the Defendant by delivering a copy of same to her via USPS Priority Mail.
           ________________________________________________________________________
            ________________________________________________________________________


                                               STATEMENT OF SERVICE FEES
 TRAVEL                                 SERVICES                                         TOTAL

                                                  DECLARATION OF SERVER

             I declare under penalty of perjury under the laws of the United States of America that the foregoing
          information
          contained in the Return of Service and Statement of Service Fees is true and correct.


         Executed on        February 5, 2022
                            ___________________                    s/David R. Giles
                                                                   _______________________________________
                                        Date                       Signature of Server
                                                                     34 Rynda Road, South Orange, NJ 07079
                                                                   _______________________________________
                                                                   Address of Server
